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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                    Plaintiff,                                 8:17CR124

      vs.
                                                 DETENTION ORDER PENDING TRIAL
JUAN CARLOS OLEA,

                    Defendant.

    This matter came on for a detention hearing on the 5th day of May, 2017. The Court
heard testimony from a potential third party custodian, Maria Olea. The Court also
heard arguments of the parties. At the conclusion of the hearing the Court ordered
pretrial services to interview the potential third party custodian, Maria Olea, and an
additional potential third party custodian, Estela Macias Olea. Pretrial Services has
completed their interviews and has filed a second addendum to the pretrial services
report, which the Court has reviewed. (Filing No. 36).

    Maria Olea is the defendant’s cousin and she last saw and had contact with the
defendant in December of 2015.               Maria Olea has no knowledge about
methamphetamine. Maria Olea’s husband is not a legal resident of the United States.
In addition, Maria Olea’s father is a Co-Defendant in this case. For all of these reasons,
the Court cannot find Maria Olea to be a suitable third party custodian.

     Estela Macias Olea is the defendant’s half-sister and resides in Arizona. Estela
Olea just moved because she was evicted from her last residence for having too many
people living in her apartment. There is no lease on the new residence, which is a
month-to-month tenancy. Estela Olea is not employed. Estela Olea’s father is living
with her and is currently going through the court system for a Driving Under the
Influence charge. Estela Olea herself has a warrant in Colorado for missing court on a
leaving the scene of an accident charge. For all of these reasons, the court cannot find
that Estela Macias Olea is a suitable third party custodian.

     The court grants the governments oral Motion for Detention and further finds as
follows:


A. Order For Detention
      X    After conducting a detention hearing pursuant to 18 U.S.C. § 3142(f) of
           the Bail Reform Act, the Court orders the above-named defendant
           detained pursuant to 18 U.S.C. § 3142(e) and (I).
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     ____     After the defendant waived a detention hearing pursuant to 18 U.S.C. §
              3142(f) of the Bail Reform Act, the Court orders the above-named
              defendant detained pursuant to 18 U.S.C. § 3142(e) and (i).

B. Statement Of Reasons For The Detention
   The Court orders the defendant’s detention because it finds:
     X     By a preponderance of the evidence that no condition or combination of
           conditions will reasonably assure the appearance of the defendant as
           required.
      X    By clear and convincing evidence that no condition or combination of
           conditions will reasonably assure the safety of any other person or the
           community.

C. Finding Of Fact
   The Court’s findings are based on the evidence which was presented in court and
   that which was contained in the Pretrial Services Report, and includes the following:
     X    (1)    Nature and circumstances of the offense charged:
           X      (a) The crime(s): (Count I), Conspiracy to Distribute and
                       Possession with Intent to Distribute Methamphetamine, and
                       (Count III), Conspiracy to Commit Money Laundering are
                       serious crimes and carry a maximum penalty of Life
                       imprisonment as to Count I, and 20 years imprisonment as to
                       Count III.
                  (b) The offense is a crime of violence.
            X     (c) The offense involves a narcotic drug.
                  (d) The offense involves a large amount of controlled substances,
                       to wit:

            (2)   The weight of the evidence against the defendant is high.
     X      (3)   The history and characteristics of the defendant including:
                   (a) General Factors:
                               The defendant appears to have a mental condition
                               which may affect whether the defendant will appear.
                          X    The defendant has no family ties in the area.
                          X    The defendant has no steady employment.
                          X    The defendant has no substantial financial resources.
                          X    The defendant is not a long time resident of the
                               community.
                          X    The defendant does not have any significant community
                               ties.
                               Past conduct of the defendant:
                               The defendant has a history relating to drug abuse.
                               The defendant has a history relating to alcohol abuse.
                               The defendant has a significant prior criminal record.
                               The defendant has a prior record of failure to appear at
                               court proceedings.
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                 (b) At the time of the current arrest, the defendant was on:
                              Probation
                              Parole
                              Supervised Release
                              Release pending trial, sentence, appeal or completion of
                              sentence.
                (c) Other Factors:
                              The defendant is an illegal alien and is subject to
                              deportation.
                              The defendant is a legal alien and will be subject to
                              deportation if convicted.
                              The Bureau of Immigration and Customs Enforcement
                              (BICE) has placed a detainer with the U.S. Marshal.
                              Other:
   X    (4)    The nature and seriousness of the danger posed by the defendant’s
        release are as follows: Nature of the charges, a stolen gun was seized from
        the defendant and the defendant sold a firearm to law enforcement.

   X    (5)      Rebuttable Presumptions
              In determining that the defendant should be detained, the Court also
              relied on the following rebuttable presumption(s) contained in 18 U.S.C.
              § 3142(e) which the Court finds the defendant has not rebutted:
              X       (a) That no condition or combination of conditions will
                           reasonably assure the appearance of the defendant as
                           required and the safety of any other person and the
                           community because the Court finds that the crime involves:
                              (1) A crime of violence; or
                       X      (2) An offense for which the maximum penalty is life
                                   imprisonment or death; or
                       X      (3) A controlled substance violation which has a
                                   maximum penalty of 10 years or more; or
                              (4) A felony after the defendant had been convicted of
                                   two or more prior offenses described in (1) through
                                   (3) above, and the defendant has a prior conviction
                                   for one of the crimes mentioned in (1) through (3)
                                   above which is less than five years old and which
                                   was committed while the defendant was on pretrial
                                   release.
              X       (b) That no condition or combination of conditions will
                           reasonably assure the appearance of the defendant as
                           required and the safety of the community because the Court
                           finds that there is probable cause to believe:
                        X     (1) That the defendant has committed a controlled
                                   substance violation which has a maximum penalty of
                                   10 years or more.
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                              (2)   That the defendant has committed an offense under
                                    18 U.S.C. § 924(c) (uses or carries a firearm during
                                    and in relation to any crime of violence, including a
                                    crime of violence, which provides for an enhanced
                                    punishment if committed by the use of a deadly or
                                    dangerous weapon or device).

D. Additional Directives
   Pursuant to 18 U.S.C. § 3142(i)(2)-(4), the Court directs that:
         1. The defendant be committed to the custody of the Attorney General for
              confinement in a corrections facility separate, to the extent practicable
              from persons awaiting or serving sentences or being held in custody
              pending appeal; and
         2. The defendant be afforded reasonable opportunity for private
              consultation with counsel; and
         3. That, on order of a court of the United States, or on request of an
              attorney for the government, the person in charge of the corrections
              facility in which the defendant is confined deliver the defendant to a
              United States Marshal for the purpose of an appearance in connection
              with a court proceeding.


      DATED this 11th day of May, 2017.

                                          BY THE COURT:

                                          s/ Susan M. Bazis
                                          United States Magistrate Judge
